












Dismissed and Memorandum
Opinion filed September 24, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-01176-CV

____________

&nbsp;

SALVADOR HARO, Appellant

&nbsp;

V.

&nbsp;

RAFAEL JIMENEZ, Appellee

&nbsp;



On Appeal from the
157th District Court

Harris County,
Texas

Trial Court Cause
No. 2007-42938



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed October 1, 2008.&nbsp; On September 2, 2009, appellant
filed a motion to dismiss the appeal because the case has settled.&nbsp;&nbsp; See
Tex. R. App. P. 42.1.&nbsp; The motion
is granted.

Accordingly,
the appeal is ordered dismissed.

PER CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce.





